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STONE HILTON PLLC                                                                                                                                        Submitted to swalker@durstjordan.com :



EXPENSE REPORT

       Purpose   Expense Tracking/Reimbursement                                                                              Month   June-July 2023



EMPLOYEE INFORMATION
                                                                           Office
       Name      Jordan Eskew                                   Position   Manager


                                                                                                                     Travel
   Date                Account         Description          Auto (Gas)     Office Supplies   Travel (Hotels)                              Meals          Phone                    Other              Total
                                                                                                                (Transportation)
  5/30/2023             Proton Mail   Proton Mail Account                                                                                                                         $119.88           $119.88

  6/30/2023              Walmart        Office Supplies                         $20.00                                                                                                               $20.00

                                                                                                                                                                                                     $0.00

                                                                                                                                                                                                     $0.00

                                                                                                                                                                                                     $0.00

                                                                                                                                                                                                     $0.00

    Total                                                      $0.00            $20.00            $0.00              $0.00                 $0.00          $0.00                  $119.88            $139.88

                                                                                                                                                                                       Subtotal     $139.88


 APPROVED        Jordan Eskew                                                                                                                                                         Advances       $0.00
                                                                                   NOTES
                                                                                                                                                                                            Total   $139.88




                                                                                                                                                                                                          2
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STONE HILTON PLLC                                                                                                                                                  Submitted to swalker@durstjordan.com :



EXPENSE REPORT

       Purpose   Reimbursement                                                                                                          Month   August 2023



EMPLOYEE INFORMATION
       Name      Jordan Eskew                                              Position   Admin


                                                                                                                                Travel
   Date                Account                Description              Auto (Gas)     Office Supplies   Travel (Hotels)                              Meals         Phone                    Other               Total
                                                                                                                           (Transportation)
  8/18/2023            Petal & Pup                Trial Attire                                                                                                                              $502.34            $502.34

  8/19/2023         Red Dress Boutique            Trial Attire                                                                                                                               $25.93             $25.93

  8/20/2023              iScanner               scanning app                                                                                                                                 $4.32              $4.32

  8/21/2023            Abercrombie                Trial Attire                                                                                                                              $860.59            $860.59

  8/21/2023             Nordstrom                 Trial Attire                                                                                                                              $139.64            $139.64

  8/21/2023                Ulta                makeup for trial                                                                                                                             $173.65            $173.65

  8/30/2023              iScanner               scanning app                                                                                                                                 $4.32              $4.32

  8/30/2023               J.Crew                  Trial Attire                                                                                                                              $614.63            $614.63

  8/30/2023             Nordstrom                 Trial Attire                                                                                                                              $335.58            $335.58

  8/31/2023             Nordstrom                 Trial Attire                                                                                                                              $484.96            $484.96
                                           Health Insurance for Aug.
  8/31/2023       Group Benefits Program                                                                                                                                                   $1,276.18          $1,276.18
                                                    & Sept
                                                                                                                                                                                                                $0.00

    Total                                                                 $0.00            $0.00             $0.00              $0.00                $0.00          $0.00                 $4,422.14           $4,422.14

                                                                                                                                                                                                 Subtotal     $4,422.14


 APPROVED        Jordan Eskew                                                                                                                                                                   Advances        $0.00
                                                                                              NOTES
                                                                                                                                                                                                      Total   $4,422.14




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